                              UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW MEXICO
In re:
ROMAN CATHOLIC CHURCH OF                                     Case No. 18-13027-t11
THE ARCHDIOCESE OF SANTA FE, a New Mexico
Corporation Sole

       Debtor.

     APPLICATION TO EMPLOY KENNEDY, MOULTON & WELLS, P.C. AS SPECIAL
            COUNSEL FOR THE DEBTOR AND DEBTOR-IN-POSSESSION

       The Roman Catholic Church of the Archdiocese of Santa Fe, a New Mexico Corporation sole, the

debtor and debtor-in-possession (the “Debtor”) in the above-captioned Chapter 11 reorganization case

(the “Bankruptcy Case”), by counsel and pursuant to 11 U.S.C. §§ 327(e), 328, and 329, hereby requests

that the Court approve its employment of Kennedy, Moulton & Wells, P.C. (“KM&W”) as special counsel

for the Debtor in accordance with the terms and conditions set forth below. This Application is supported

by the Declaration of Debra J. Moulton under Bankruptcy Rule 2014 (the “Declaration”), which is filed

herewith. In further support of this Application, the Debtor states as follows:

       1.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334,

and Miscellaneous Order No. 84-0324 filed in the United States District Court for the District of New

Mexico on March 19, 1992. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.      On December 3, 2018 (the “Petition Date”), the Debtor commenced this Bankruptcy Case

by filing a voluntary petition for relief under Chapter 11 of the Bankruptcy Code.

       3.      The Debtor is authorized to operate its businesses as a debtor-in-possession pursuant to 11

U.S.C. §§ 1107(a) and 1108.

       4.      The Unsecured Creditors Committee was appointed in this case on December 18, 2018
Docket # 53.




  Case 18-13027-t11        Doc 124      Filed 03/13/19     Entered 03/13/19 10:00:40 Page 1 of 11
       5.      The Debtor wishes to employ KM&W as its special counsel in this Bankruptcy Case as

more particularly described below and in the Declaration.

       6.      KM&W represented the Debtor, prior to the Petition Date, in a pending civil action in the

Second Judicial District for the State of New Mexico (“State Court Case”) Cause No. D-202-CV-2018-

07481 captioned Thomas Paickattu v. Archdiocese of Santa Fe, et. al. Although the State Court Case has

been stayed, Thomas Paickattu has filed an adversary case against the Debtor (the “Adversary Case”) in

the Bankruptcy Court as Case No. 19-01011. KM&W’s assistance will be required to address the

Adversary Case and issues related to the State Court Case.

       7.      The employment of KM&W is appropriate and necessary to enable Debtor to successfully

reorganize. KM&W is intimately familiar with the factual and legal issues in the State Court Case and the

Adversary Case and such knowledge will be crucial in defending the Adversary Case. Therefore, Debtor

wants to employ KM&W as its special counsel for the Adversary Case.

       8.      The Adversary Case, the State Court Case and the matters related to the Adversary Case

and the State Court Case are the only matters in which KM&W will represent Debtor during the pendency

of the Reorganization Case.

       9.      Subject to further order of this Court, it is proposed that KM&W be employed, effective as

of the filing of this Application to provide legal advice and assistance in the Adversary Case, and in the

event that the automatic stay is modified or lifted in the State Court Case. KM&W will not act as counsel

with respect to bankruptcy matters generally.

       10.     The services provided by KM&W will not duplicate or overlap the efforts of any other

professional retained by Debtor, including lead bankruptcy counsel Elsaesser Anderson Chtd. and local

bankruptcy counsel Walker & Associates, P.C. The services to be provided by each of these professionals




                                                   -2-

  Case 18-13027-t11        Doc 124     Filed 03/13/19       Entered 03/13/19 10:00:40 Page 2 of 11
are separate and different from the services to be provided by the other professionals and all are essential

to the Debtor’s reorganization efforts.

        11.     To the best of the Debtor’s knowledge, information, and belief, after making reasonable

inquiry, KM&W has no connection with or any interest adverse to the Debtor, its creditors, or any other

party in interest, or its respective attorneys and accountants, the United States Trustee for the District of

New Mexico, or any person employed in the Office of the United States Trustee. Accordingly, KM&W is

a “disinterested person” as such term is defined in § 101(14) of the Bankruptcy Code.

        12.     In light of the foregoing, the Debtor believes that KM&W is qualified to represent its

interests and the interests of its estate.

        13.     The Debtor understands that KM&W intends to apply to the Court for allowances of

compensation and reimbursement of expenses as permitted by and in accordance with applicable

provisions of the Bankruptcy Code, the Bankruptcy Rules, Local Rule 2016-1.1, the United States Trustee

guidelines, and the Court’s orders, for services performed and expenses incurred on and after the Petition

Date. The fee applications will contain a detailed statement showing services performed by KM&W and

compensation received in accordance with all applicable guidelines and Local Rule 2016-1.1.

        14.     Subject to Court approval, and to the extent it is able, Debtor proposes to pay KM&W its

customary hourly rates for services rendered that are in effect from time to time, as set forth in the

Declaration, and to reimburse KM&W according to its customary reimbursement policies, subject to any

applicable guidelines set forth by this Court or the United States Trustee, and submits that such rates are

reasonable. KM&W may be paid directly by Debtor’s insurance company Catholic Mutual. All payments

that KM&W receives from Catholic Mutual will be disclosed to the Court. KM&W’s attorney who may

perform legal services for the Debtor is Debra J. Moulton whose hourly rate is $190 for issues related to

the Adversary Case and matters related to issues raised in the Adversary Case and State Court Case Any



                                                       -3-

   Case 18-13027-t11          Doc 124        Filed 03/13/19   Entered 03/13/19 10:00:40 Page 3 of 11
other attorneys who may be employed by KM&W would be billed at their regular hourly rates. Law clerks

and paralegals would be billed at $75 per hour.

       15.     KM&W itemizes and charges separately for certain reasonable costs and expenses, which

may include postage, long distance telephone charges, travel, filing fees, computerized legal research,

deposition expenses, and expert witness fees, at KM&W’s actual cost.           KM&W also charges for

telecopies, photocopies ($0.10 per page), and gross receipts tax on fees and costs. Further, although

considered normal expenses charged to its clients, KM&W has informed the Debtor that, limited to this

bankruptcy case, it will not charge Debtor for any of the following services, pursuant to this Court’s

opinion in In re Furr’s Supermarkets, Inc., Case No. 11-01-10779 SA (Bankr. D.N.M. June 28, 2001):

secretarial work, secretarial overtime, overtime meals, late work transportation allowances, and word

processing, proofreading, or other miscellaneous support services.

       16.     If the application to employ KM&W is granted, KM&W will render monthly statements

to Debtor, Catholic Mutual and other parties in interest. KM&W seeks authority to be paid monthly from

the Debtor, upon receipt of KM&W’s billing statements and before the fees and costs are allowed, 75%

of billed fees and 100% of billed costs and gross receipts tax, to be paid from funds of the estate. KM&W

seeks authority to be paid monthly from Catholic Mutual, upon receipt of KM&W’s billing statements.

All fees, costs, and gross receipts tax would be subject to ultimate approval of the Bankruptcy Court under

11 U.S.C. §§ 328, 330, and 331. KM&W’s fee applications would contain a detailed statement showing

services performed by KM&W for compensation received.

       17.     As of the Petition Date, ADSF does not owe KM&W any amounts for legal services

rendered before the Petition Date. All amounts paid were paid in the ordinary course of the business

relationship between ADSF and KM&W.

       18.     The Debtor has not paid and KM&W has not received a pre-petition retainer in any amount.



                                                    -4-

  Case 18-13027-t11        Doc 124     Filed 03/13/19     Entered 03/13/19 10:00:40 Page 4 of 11
       WHEREFORE, the Debtor respectfully requests the entry of an order, pursuant to §§327(e), 328,

and 329 of the Bankruptcy Code and Bankruptcy Rules 2014 and 2016, authorizing Debtor to employ and

retain KM&W as special counsel for the Debtor effective as of the date this Application was filed and

granting Debtor all such other relief as the Court deems just and proper.

                                      Respectfully submitted,
                                      WALKER & ASSOCIATES, P.C.
                                      By: filed electronically 3/13/2019
                                          Thomas D. Walker
                                          Stephanie L. Schaeffer
                                          500 Marquette Ave NW, Suite 650
                                          Albuquerque, NM 87102
                                          Telephone: (505) 766-9272
                                          Facsimile: (505) 766-9287
                                          e-mail: twalker@walkerlawpc.com
                                      Attorneys for Debtor in Possession


I hereby certify that, on March 13, 2019,
in accordance with NM LBR 9036-1 and
Fed. R. Civ. P. 5(b)(3), a true copy of the
foregoing was served via the Court’s CM/ECF
notification facilities to those parties who are
registered CM/ECF participants in this case.

s/ filed electronically
Stephanie L. Schaeffer




                                                   -5-

  Case 18-13027-t11        Doc 124      Filed 03/13/19    Entered 03/13/19 10:00:40 Page 5 of 11
                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW MEXICO

In re:                                                 Chapter 11
ROMAN CATHOLIC CHURCH OF THE
ARCHDIOCESE OF SANTA FE, a New                         Case No.: 18-13027-t11
Mexico corporation sole,
                      Debtor.

       VERIFIED DISCLOSURE OF DEBRA J. MOULTON IN CONNECTION WITH
         DEBTOR’S APPLICATION FOR AN ORDER AUTHORIZING THE
       EMPLOYMENT OF KENNEDY, MOULTON & WELLS, P.C. AS SPECIAL
           COUNSEL FOR THE DEBTOR AND DEBTOR-IN-POSSESSION

        I, Debra J. Moulton, hereby declare under penalty of perjury, pursuant to Fed. R. Bankr.

 P. 2014(a) and 2016(b), that to the best of my knowledge and belief, and after reasonable inquiry,

 the following is true and correct:

        1.      I am over the age of 18 years, have personal knowledge of the following

 statements and am competent to testify to the following statements.

        2.      I am admitted to and practice before the bar in the state of New Mexico. I am a

 member in good standing in the New Mexico state bar. I have been licensed to practice law

 since 1990. I am a Partner in the law firm of Kennedy, Moulton & Wells, P.C. (“KMW”).

        3.      I am duly authorized by KMW to make all statements which I have made herein

 on behalf of KMW and with respect to the Debtor’s Application to Employ Kennedy, Moulton

 & Wells, P.C. as Special Counsel for the Debtor and Debtor-In- Possession (the “Application”).

        4.      I am filing this Declaration in support of the Application. To the extent that any

 information disclosed herein requires amendment or modification upon KM&W’s completion

 of further analysis or as additional creditor information becomes available to it, a supplemental

 declaration will be submitted to the Court reflecting the same.

        5.      This declaration is submitted also as the statement required pursuant to §§ 328,

VERIFIED DISCLOSURE OF DEBRA J. MOULTON - 1


Case 18-13027-t11       Doc 124       Filed 03/13/19    Entered 03/13/19 10:00:40 Page 6 of 11
 329, and 504 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy

 Code”), Rules 2014(a) and 2016(b) of the Federal Rules of Bankruptcy Procedures (the

 “Bankruptcy Rules”) and Local Rule 2016-1(a) of the Local Rules of the United States

 Bankruptcy Court, District of New Mexico (the “Local Rules”).

 Services to be provided

         6.     KM&W will provide the Debtor with advice and representation regarding

 pending civil action in the Second Judicial District for the State of New Mexico (“State Court

 Case”) Cause No. D-202-CV-2018-07481 captioned Thomas Paickattu v. Archdiocese of Santa

 Fe, et. al. and the corresponding adversary case filed against the Debtor by Thomas Paickattu in

 the Bankruptcy Court as Case No. 19-01011 (the “Adversary Case”). KM&W will not act as

 counsel with respect to bankruptcy matters generally.

 Professional Compensation

       7.       Compensation paid to KM&W for services rendered in connection with this case

is to be a reasonable fee, based upon customary hourly rates normally charged to clients of

KM&W. All amounts paid by Debtor or Catholic Mutual post-petition to KM&W shall be subject

to ultimate approval of the Bankruptcy Court under 11 U.S.C. §§ 328, 330 and 331. KM&W did

not receive a prepetition retainer.

         8.      KM&W’s attorneys who may perform legal services for the Debtor include

 Debra J. Molton whose hourly rate is $190.00; any other personnel who may work on this matter

 including partners ($190 per hour); and paralegals and clerks ($75). Hourly rates will be charged

 based on the individual’s normal billing rate, expertise, and experience. KM&W reserves the

 right to change its hourly rates and shall notify Debtor and obtain any required Court approval in

 advance of any rate increases before the increase goes into effect.

VERIFIED DISCLOSURE OF DEBRA J. MOULTON - 2


Case 18-13027-t11       Doc 124       Filed 03/13/19    Entered 03/13/19 10:00:40 Page 7 of 11
         9.     KM&W itemizes and charges separately for certain costs and expenses, such as

 postage, long distance telephone charges, travel, filing fees, court fees, deposition expenses,

 computerized legal research, and expert witness fees, all at cost, faxes ($0.15 per page) and

 photocopying ($0.10 per page). KM&W does not charge separately for word processing, in town

 messenger service, or secretarial overtime, all of which are included as part of its overhead.

         10.    KM&W has informed Debtor that, limited to this bankruptcy case, it will not

 charge Debtor for any of the following services, pursuant to this Court’s opinion in In re Furr’s

 Supermarkets, Inc., Case No. 11-01-10779 SA (Bankr. D.N.M. June 28, 2001): secretarial work,

 secretarial overtime, overtime meals, late work transportation allowances, and word processing,

 proofreading, or other miscellaneous support services.

         11.    No promises have been received by KM&W or any attorney or professional of

 KM&W as to payment of compensation in connection with this case in accordance with

 the provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and the Court’s

 orders. KM&W has no agreement with any other entity to share with such entity any

 compensation received by KM&W, except as permitted under § 504(b)(1) of the Bankruptcy

 Code.

         12.    The bankruptcy estate and Catholic Mutual will be the source of payment of

 compensation to KM&W, subject to court approval. No compensation for legal services

 rendered and reimbursement of expenses incurred in representation of Debtor has been promised

 to KM&W from any source other than Debtor or Catholic Mutual. KM&W has not agreed, and

 will not agree, to share compensation with any person or entity except employees of KM&W.

         13.    KM&W requests that it be paid by Catholic Mutual on a monthly basis, upon

 receipt of KM&W’s billing statements and prior to the Court’s allowance of KM&W’s

VERIFIED DISCLOSURE OF DEBRA J. MOULTON - 3


Case 18-13027-t11       Doc 124      Filed 03/13/19     Entered 03/13/19 10:00:40 Page 8 of 11
 compensation.

         14.     KM&W requests that if the Debtor is paying KM&A, that KM&W be paid by

 the Debtor on a monthly basis, upon receipt of KM&W’s billing statements and prior to the

 Court’s allowance of KM&W’s compensation, seventy-five percent (75%) of billed fees, one

 hundred percent (100%) of reimbursable costs and one hundred percent (100%) of applicable

 gross receipts tax on fees and costs that are paid.

         15.     KM&W intends to apply for compensation for professional services to be

 rendered in connection with this Chapter 11 case and for reimbursement of expenses incurred,

 no less frequently than every 180 days, in accordance with applicable provisions of the

 Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the guidelines established by the Office

 of the United States Trustee and the Court’s orders, on an hourly basis, plus reimbursement of

 actual, necessary expenses and other charges that KM&W incurs.

 Disinterestedness

         16.     KM&W is required to disclose to this Court any and all connections with Debtor,

 its creditors, other parties in interest, their respective attorneys and accountants, the U.S. Trustee,

 or any person employed in the office of the U.S. Trustee.

         17.     KM&W has no connections with Debtor.

         18.     As of the Petition Date, Debtor does not owe KM&W any amounts for legal

 services rendered before the Petition Date.

         19.     KM&W’s connections with the office of the U.S. Trustee and any of its

 employees extend only to KM&W’s involvement as counsel for debtors, trustees, and creditors

 in other cases in the Bankruptcy Court.

         20.     KM&W does not represent any of Debtor’s known creditors or any of their

VERIFIED DISCLOSURE OF DEBRA J. MOULTON - 4


Case 18-13027-t11        Doc 124      Filed 03/13/19      Entered 03/13/19 10:00:40 Page 9 of 11
  known attorneys, and KM&W does not have an insider relationship, as “insider” is defined in §

  101(31) of the Bankruptcy Code, with any of Debtor’s known creditors or any of their known

  attorneys, to the best of KM&W’s knowledge, after reasonable due diligence. In connection

  herewith, KM&W performed a review of the connections and relationships between KM&W

  and Debtor’s known secured creditors, Debtor’s twenty largest unsecured creditors, and Debtor’s

  officers and directors, as well as other parties in interest with respect to the Chapter 11 case. In

  conducting this review, KM&W searched its database of clients and opposing parties for the

  names of the foregoing parties. In light of the extensive number of creditors and other parties in

  interest, KM&W has been unable to conclusively identify all potential relationships. However,

  to the extent that KM&W becomes aware of any additional relationships, KM&W will promptly

  file a supplemental declaration.

         21.     In addition, KM&W or its employees may subscribe to telephone and other utility

  services, and may purchase other goods and/or services, from vendors of Debtor.

         22.     Based upon the information available to me, after following the procedures

  described herein, and except as otherwise described herein, KM&W holds no interest adverse

  as to Debtor with respect to the matters for which it is to be employed. Accordingly, I submit

  that KM&W is a “disinterested person” as that term is defined in § 101(14) of the Bankruptcy

  Code, as modified by § 1107(b) of the Bankruptcy Code.

         23.     Based upon the foregoing, I respectfully submit that the requirements for

  KM&W’s retention as special insurance counsel for Debtor have been met.

        The undersigned verifies under penalty of perjury that the above is true and correct.
         DATED: March 12, 2019.
                                                    /s/ Debra J. Moulton
                                                    DEBRA J. MOULTON



 VERIFIED DISCLOSURE OF DEBRA J. MOULTON - 5


Case 18-13027-t11       Doc 124      Filed 03/13/19     Entered 03/13/19 10:00:40 Page 10 of 11
                                                       FILED BY:
                                                        WALKER & ASSOCIATES, P.C.
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                                                 Counsel for Debtor in Possession

  CERTIFICATE OF SERVICE
  In accordance with NM LBR 9036-1 and Fed.
  R. Civ. P. 5(b)(3), this certifies that service of
  the foregoing document was served this 13th
  day of March 2019, via the notice
  transmission     facilities of the           case
  management and electronic filing system of
  the Bankruptcy Court.

  /s/ Stephanie L. Schaeffer
  Stephanie L. Schaeffer




 VERIFIED DISCLOSURE OF DEBRA J. MOULTON - 6


Case 18-13027-t11        Doc 124      Filed 03/13/19      Entered 03/13/19 10:00:40 Page 11 of 11
